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WESTERN DISTRICT OF COUISIAN,
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IN THE UNITED STATES DISTRICT COURT FOR THE

WESTERN DISTRICT OF LOUISIANA

 

SHREVEPORT "CY.
JACQUETTA MITCHELL \O0- 2 4 ¢ 5 _ S.
VERSUS : JUDGE:

: JUDGE WALTER
BAILEY PROPERTIES, L.L.C. d/b/a/_ : == MAGISTRATE JUDGE:

WESTWOOD VILLAGE APARTMENTS :
 Jupy pemanp MAGISTRATE JUDGE PAYNE

COMPLAINT
NOW INTO COURT, through undersigned counsel, comes JACQUETTA MITCHELL
(“Plaintiff”), who respectfully represents the following:
I. JURISDICTION
1. This is an action for declaratory, injunctive and monetary relief for
discrimination in employment in violation of Title VII of the Civil Rights Act of 1964, as
amended by the Civil Rights Act of 1991, codified at 42 U.S.C. Section 2000e et seg. and for
violation of the Family and Medical Leave Act, codified at 29 U.S.C. Section 2601 et seq.
Jurisdiction is based on 42 U.S.C. Section 2000e-5(f)(3), 29 U.S.C. Section 2617(a)(2), and
28 U.S.C. Sections 1331, 1332(a)(4) and 2201. Pursuant to 28 U.S.C. Section 1367, Plaintiff
further invokes the supplemental jurisdiction of this Court to hear and decide claims arising
under state law.
Il. PARTIES
2. Plaintiff, Jacquetta Mitchell, is an adult female citizen of the United States and

the State of Louisiana. She is domiciled in Shreveport, Caddo Parish, Louisiana.
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3. Made Defendant in this action is:
(a) Bailey Properties Management, L.L.C., an Arkansas limited liability
company, whose agent for service of process is CT Corporation System,
8550 United Plaza Blvd., Baton Rouge, Louisiana 70809.
4. At all times referred to in this Complaint, Defendant was engaged in an industry
affecting commerce.
5, Defendant is Plaintiff's “employer” within the meaning of 42 U.S.C. Section

2000e(b), 29 U.S.C. Section 2611(4), La. Rev. Stat. 23:331(B).

Il. FACTUAL ALLEGATIONS

6. Plaintiff was employed by Defendant at the property managed by Defendant at a
location known as Westwood Village Apartments located at 6777 Raspberry Lane, Shreveport,
Louisiana from April 12, 1999 through May 22, 2000. She held the position of Property

Manager.

7. Plaintiff was paid a compensation package that included a base salary or
$27,500.00 and a rent subsidy which consisted of a thirty-five percent discount.

8. On April 12, 2000, Plaintiff submitted for approval a request for leave under the
Family Medical Leave Act, stating that her leave would begin on June 7, 2000 with an
expected date of return on July 20, 2000. The request was signed by her personal physician,
Dr. R. Azevedo.

9. Plaintiff’s request for medical leave was for the purpose of the birth of her
child. Plaintiff's request was approved by the Administrative Director of Bailey Properties,
LLC, Vicki Adcock, on April 26, 2000.

10. Due to medical reasons, it was necessary to advance the beginning date of

Plaintiff's medical leave under the Family Medical Leave Act to April 13, 2000.
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11. By letter dated April 28, 2000, from Vicki Adcock, Plaintiff was notified that
she would need to make modifications to her rent payments during the period of her medical
leave despite the fact that part of her compensation package included discounted rent.

12. The letter from Ms. Adcock indicated that Plaintiff was a "key employee" as
described in the FMLA regulations, and that she had twelve (12) weeks leave under the
FMLA.

13. By letter dated May 22, 2000, Plaintiff was notified that due to her "key
employee" status, it was necessary to fill her position of property manager of Westwood
Village Apartments, and that there was not a position available for her to return to work.
Plaintiff was further informed that if she had interest in working for Defendant she should
make application as employment opportunities open.

14. =‘ Plaintiff was not a “key employee”, nor did Defendant have good reason to
believe that Plaintiff could be classified as a “key employee”. Accordingly, Defendant
discharged Plaintiff while on leave for maternity under the FMLA, prior to the twelve week
leave period having expired, in violation to the Family Medical Leave Act.

15. Additionally, Plaintiff was treated differently by Defendant under the Family
Medical Leave Act, as there are three (3) white employees of Defendant on maternity leave
and their positions were not filled but instead remained open for their return.

16. Defendant discharged Plaintiff because of her race.

17. Plaintiff has timely filed a charge of gender and race discrimination with the

Equal Employment Opportunity Commission and has received a Notice of Right to Sue.
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IV. __§ CAUSES OF ACTION
COUNT I:
VIOLATION OF TITLE VIL

18. The averments of Paragraph 1 through 17 above are reiterated by reference and
realleged here as though copied as in extenso.

19. The actions and conduct of Defendant as set forth herein constitute gender
discrimination and/or race discrimination in violation of La. Rev. Stat. 23:301 et seq., 42
U.S.C. Section 2000e-2 and 42 U.S.C. Section 2000e-3.

20. The Defendant’s actions complained of herein were performed with malice or
reckless indifference to and in knowing violation or reckless disregard of Plaintiff’s feclerally-
protected rights.

21. Because of the actions of Defendant set forth herein, Plaintiff has suffered loss
of employment benefits and has undergone severe stress and emotional harm.

22. All administrative prerequisites have been met for the filing of these Title VII
claims.

COUNT II:
VIOLATION OF FAMILY MEDICAL LEAVE ACT
23. The averments of Paragraphs 1 through 22 above are reiterated by reference and

realleged here are though copied in extenso.

 

24. The actions, conduct and practices of Defendant complained of herein violated
Plaintiff’s rights under FMLA and were taken in order to interfere with or retaliate against
Plaintiff for her requested taking of family or medical leave in violation of 29 U.S.C. Section

2615.

 
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V. JURY TRIAL DEMANDED
25. Plaintiff demands a trial by jury as to all matters permitted by law.
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WHEREFORE, PLAINTIFF PRAYS:

(A) _ that the Court declare the employment practices of which complaint is made to
be in violation of 42 U.S.C. §2000e et. seg., La. R.S. 23:301 et seg., and otherwise
inculpatory and illegal;

(B) _ that the Court order Defendant to cease the discriminatory practices enumerated
herein and enjoin Defendant from engaging in further discrimination against Plaintiff because
of her gender or her race;

(C) _ that the Court declare the employment practices of which complaint is made to
be in violation of 29 U.S.C. §2615, and that the Court order Defendant to cease such
practices;

(D) _ that the Court order Defendant to pay front pay and/or lost future earnings in
amounts to be determined by the jury;

(E) _ that Plaintiff be awarded back pay, including prejudgment interest, and any
other benefits or seniority to which she may have been entitled or which she may have lost as a
result of the discrimination or retaliation against her;

(F) _ that Plaintiff be awarded compensatory damages pursuant to 42 U.S.C. Section
1981a, and La. R.S. 23:333.

(G) that Plaintiff be awarded compensatory and liquidated damages pursuant to 29

U.S.C. §2617(a);
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(H) that Plaintiff be awarded the costs of this action, including attorneys’ fees
pursuant to 42 U.S.C. §2000e-S(k), 29 U.S.C. §2617(a)(3), and La. R.S. 23:333, and
d) that Plaintiff be awarded punitive damages pursuant to 42 U.S.C. Section
1981a;
J) for trial by jury for those matters triable to a jury; and
(K) _ that Plaintiff be awarded such other and further relief as the Court finds
equitable, just and proper.
Respectfully submitted,
DAVIDSON, NIX & JONES
A Professional Law Corporation
509 Market Street, Suite 800
Shreveport, Louisiana 71101
(318) 424-4342

Allison A. Jones, Bar No. 1

By: (iE

ATTORNEYS FOR ded TIFF

 
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STATE OF LOUISIANA
PARISH OF CADDO
VERIFICATION
BEFORE ME, the undersigned Notary Public, personally came and appeared Jacquetta
Mitchell, who did depose and state that she is the Plaintiff in the foregoing Complaint, that she
has read the Complaint, and that all of the allegations contained therein are true and correct to
the best of her knowledge, information and belief.

C Negro teh

PXCQUESTA MITCHELL

SWORN TO AND SUBSCRIBED before me, Notary Public, this Sr i L day of

November, 2000. (te. Ci

NOTARY PUBLIC

 
